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              EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

JAMES THOMPSON, et al.                                * CIVIL ACTION NO.
                                                      * 3:14-CV-00259-WWE
Plaintiffs                                            *
                                                      *
VS.                                                   *
                                                      *
NATIONAL UNION FIRE INSURANCE                         *
COMPANY OF PITTSBURGH, PA.                            *
Defendants                                            • AUGUST 22, 2014

       PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANTS

       The plaintiffs, pursuant to Fed. R. Civ. P. 34, hereby serve requests for

production on defendants as follows:

       If You decline to respond any Request, or any portion thereof, due to a claim of

the attorney-client and/or other privilege, for each such claim of privilege state fully the

basis for the claim of privilege, including sufficient information for defendant to evaluate

such privilege claim(s) by identifying who drafted or received the documents, providing

a brief description of the content of the document and identifying the date of document.

                                       DEFINITIONS

   A. "You," "Your" or "National Union" as used herein, shall mean the National Union

       Fire Insurance Company of Pittsburgh, PA, and each of its parents, subsidiaries,

       affiliates, agents, assigns, attorneys, employees, officers, directors, accountants,

       representatives, consultants, or others acting or purporting to act on its behalf.

   B. The "Policy" as used herein, shall mean Your commercial umbrella liability policy

       Number BE080779049 naming Bluewater Energy Solutions, Inc. as Named

       Insured for the period beginning February 03, 2010 to February 03, 2011.
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C. "communications," as used herein, shall mean and include any and all direct or

   indirect transmissions of information by any means, written, oral or otherwise.

D. "person" or "persons," as used herein, shall mean any natural person, firm

   association, organization, partnership, trust, corporation or other legal entity.

E. As used herein, "and" shall mean "and/or." The plural of any word used herein

   includes the singular and the singular includes the plural. The masculine gender

   of any word used herein includes the feminine. The past tense of a verb used

   herein includes the present tense, and the present tense includes the past tense.

F. "document," as used herein, and interpreted to the broadest extent permissible

   shall mean any human readable form of information, present in any medium from

   which information can be obtained whether on paper or other tangible medium, in

   electronic form, or otherwise, including writings, drawings, graphs, charts,

   photographs, sound recording, images, and other data or data compilations,

   stored.

   In particular, these requests seek the original and all drafts of all written or

   graphic matter however produced or reproduced, of any kind or description, and

   all copies thereof which are different from the original (whether different by

   receipt stamp, notation, indication of copies sent or received, or otherwise),

   whether printed or recorded electronically or magnetically or reproduced by hand.

   Examples of "documents" include, but are not limited to intra-company

   Communications), correspondence, e-mails, telegrams, cables, memoranda,

   records, books, summaries of records or personal conversations or interviews,

   diaries, desk calendars, appointment books, journals, and message pads,
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    forecasts, statistical statements, accountants' work papers, graphs, charts,

    diagrams, certificates, tables, indexes, pictures, recordings, tapes, microfilm,

    charges, accounts, analytical records, minutes or records of meetings,

    conferences or conversations, reports or summaries of interviews, reports or

    summaries of investigations, texts or surveys, opinions or reports of consultants,

    appraisals, records, reports or summaries of negotiations, advertisements,

    brochures, pamphlets, circulars, trade letters, press releases, stenographic or

    hand-written or other notes, projections, working papers, checks front and back,

    check stubs or receipts, envelopes, invoice vouchers, data processing cards,

    tapes or disks or any other written, recorded, transcribed, punched, taped, filmed

    or graphic matter, however produced or reproduced, and any other document or

    writing of whatever description, including but not limited to any information

    contained in any computer, computer peripheral equipment, computer library, or

    website.

                         REQUESTS FOR PRODUCTION

1. Produce all documents identified in Your response to Interrogatory 1.


2. Produce all documents identified in Your response to Interrogatory 2.


3. Produce all documents identified in Your response to Interrogatory 3.


4. Produce all documents identified in Your response to Interrogatory 4.


5. Produce all documents identified in Your response to Interrogatory 5.


6. Produce all documents identified in Your response to Interrogatory 6.
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7. Produce all documents identified in Your response to Interrogatory 7.


8. Produce all documents identified in Your response to Interrogatory 8.


9. Produce all documents identified in Your response to Interrogatory 9.


10. Produce the name, job title, current address, telephone number, and email

    address of each person identified in Your response to Interrogatory 10.


11. Produce the name, job title, current address, telephone number, and email

    address of each person identified in Your response to Interrogatory 11.


12. Produce the name, job title, current address, telephone number, and email

    address of each person identified in Your response to Interrogatory 12.


13. Produce all documents in your possession relating to: (i) coverage under the

    Policy; or (ii) the Claim that were produced, received or transmitted by the

    persons identified in Interrogatory 12.


14. Produce all documents identified in Your response to Interrogatory 15.



                                        THE P



                                        By
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                             CERTIFICATION OF SERVICE

       This is to certify that a copy of the foregoing was mailed via U.S. mail, postage
prepaid, on this date, to the following counsel of record:

Joseph J. Blyskal (ct28055)
GORDON & REES LLP
95 Glastonbury Blvd, Suite 206
Glastonbury, CT 06033


                                            BY:
                                             Joel T. Faxon
                                             Federal Bar No.
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